                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE


ORECK CORPORATION, et aL,

               Plaintiffs,

v.                                                     Civil Action No.

HCC GLOBAL FINANCIAL
PRODUCTS, LLC, et

               Defendants.


                                    NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1441 and 1446, defendants U.S. Specialty Insurance Company

("USSIC"), HCC Global Financial Products, LLC ("HCC Global"), HCC Insurance Holdings,

Inc. ("HCC Insurance Holdings"), Houston Casualty Company ("Houston Casualty"), and

Illium, Inc. ("Illium"), collectively the "Defendants," give notice of their removal to the United

States District Court for the Middle District of Tennessee of this proceeding, filed in the

Chancery Court for Putnam County, Tennessee, under the caption Greek Corporation, et al. v.

HCC Global Financial Products, LLC, et al., No. 2012-148. Defendants further state the

following:


                                       I. BACKGROUND

        1.     On April 30, 2012, plaintiffs filed their initial Complaint for Damages and

Declaratory Relief (the "Initial Complaint") in the state court. The Initial Complaint named only

USSIC, the company that issued the insurance policies at issue in this case, and HCC Global,

which acted as USSIC's disclosed agent in underwriting the policies and handling claims under

the policies. A copy of the Initial Complaint is attached as Exhibit A.



       Case 2:12-cv-00083 Document 1 Filed 08/13/12 Page 1 of 11 PageID #: 1
        2.      Plaintiffs did not serve the Initial Complaint upon any of the Defendants.

        3.      On July 3, 2012, plaintiffs filed their First Amended Complaint for Damages and

Declaratory Relief (the "Amended Complaint") in the state court. The Amended Complaint

names the Defendants that join in this Notice of Removal. A copy of the Amended Complaint is

attached as Exhibit B.

        4.     HCC Global, HCC Insurance Holdings and Houston Casualty were served with

the Amended Complaint on July 16, 2012. Illium was served on July 17, 2012, and USSIC was

served on July 18, 2012.


                                II. NATURE OF THE ACTION

        5.     This action presents a dispute between the plaintiffs and USSIC relating to

USSIC's denial of insurance coverage sought by the plaintiffs under two insurance policies

issued by USSIC. Those policies (the "Policies") are No. 14-MGU-08-A1 7951, issued to ASP

Oreck, Inc. for the period from November 17, 2008 to March 19, 2016, and No. 14-MGU-11-

A23434, issued to Oreck Holdco 1, Inc. for the period from March 19, 2011 to March 19, 2012.

Copies of the Policies are attached to the Amended Complaint as Exhibits Al and A2.

       6.      Plaintiffs sought coverage for (a) defense costs they allege they incurred in

connection with six putative class actions (the "Class Actions"), and (b) defense costs they allege

they incurred, and a settlement payment they allege they made, in connection with an action by

the U.S. Federal Trade Commission (the "FTC Action"). The Class Actions and FTC Action

alleged that plaintiffs sold vacuums and air purifiers to consumers that failed to perform their

stated functions, and specifically failed to kill germs or remove contaminants as allegedly

represented in communications by the sellers to consumers. The Class Actions were




                                                 2
      Case 2:12-cv-00083 Document 1 Filed 08/13/12 Page 2 of 11 PageID #: 2
consolidated in the U.S. District Court for the Central District of California and a consolidated

complaint was filed there on behalf of all named plaintiffs on July 13, 2012.

        7.     Defendant USSIC is the only defendant that is a party to the Policies.

        8.     Defendant HCC Global is a limited liability company and an indirect subsidiary

of HCC Insurance Holdings. HCC Global is not a party to the Policies or to any insurance or

other contract with plaintiffs. HCC Global acted as the disclosed agent for USSIC in the

underwriting and issuance of the Policies and in the handling of claims under the Policies. See

Amended Complaint, T17-18.

        9.     Defendant Illium is a wholly owned direct subsidiary of defendant HCC

Insurance Holdings and the parent of defendant Houston Casualty. Illium is not a party to the

Policies or to any insurance or other contract with the plaintiffs. Illium did not underwrite or

issue the Policies or handle claims under the Policies.

        10.    Defendant Houston Casualty is an indirect subsidiary of HCC Insurance Holdings

and the parent of USSIC. Houston Casualty is not a party to the Policies or to any insurance or

other contract with the plaintiffs. Houston Casualty did not underwrite or issue the Policies or

handle claims under the Policies.

        11.    HCC Insurance Holdings is the corporate parent of all of the other defendants in

this action — Illium, its direct subsidiary, and Houston Casualty, HCC Global and USSIC, its

indirect subsidiaries. See Amended Complaint, ¶ 14. HCC Insurance Holdings is not a party to

the Policies or to any insurance or other contract with the plaintiffs. HCC Insurance Holdings

did not underwrite or issue the Policies or handle claims under the Policies.

        12.    The stated basis for the assertion of claims against defendants other than USSIC is

that those other defendants constitute a group of affiliated companies; that some of them



                                                 2
      Case 2:12-cv-00083 Document 1 Filed 08/13/12 Page 3 of 11 PageID #: 3
exercised dominion or control over the actions and decisions of others among them; and that

HCC Insurance Holdings operated a "scheme" to deprive policyholders of coverage to which

they were entitled, while avoiding liability for that "scheme" by using separately incorporated

entities to issue the policies and respond to claims. See Amended Complaint, Tit 15-16. These

assertions are made in the Amended Complaint without any allegation of any supporting facts.


                                  III. BASIS FOR REMOVAL

        13.    Defendants remove this case based on federal diversity jurisdiction under 28

U.S.C. § 1332. The amount in controversy exceeds $75,000, as set forth at page 3 of the May 1,

2012 letter from John G. Arena of Oreck Corporation to Lisa Evon of HCC Global, which is

attached as Exhibit C. There is complete diversity of citizenship between the plaintiffs, all of

which are Delaware corporations with their principal places of business either in Tennessee or

Wyoming, see Amended Complaint,       TT 1-6, and the only properly joined defendant, USSIC,
which is a Texas corporation with its principal place of business in Texas, see id. at ¶ 7.

        14.    Defendants HCC Global, HCC Insurance Holdings, and Illium are alleged to be

organized under the laws of the State of Delaware, with their principal places of business in

Connecticut (HCC Global) and Texas (HCC Insurance Holdings and Illium). Because of their

Delaware citizenship they are not diverse from plaintiffs. See id. at IN 8, 9, 11. But they are not

proper parties to this action and were fraudulently joined for the purpose of defeating removal.

There is no colorable basis for any claim against them. Their citizenship therefore must be

disregarded for purposes of determining whether complete diversity exists. See, e.g., Coyne ex

rel. Ohio v. Am. Tobacco Co., 183 F.3d 488, 493 (6th Cir. 1999).

       15.     There is no basis for the negligence claim against HCC Global in Count III

because no relationship or dealings are alleged between HCC Global and any plaintiff that could


                                                 2
      Case 2:12-cv-00083 Document 1 Filed 08/13/12 Page 4 of 11 PageID #: 4
give rise to any duty imposed by law. The only dealings between them involved HCC Global's

acts as the disclosed agent of US SIC, underwriting the policies for USSIC and handling

plaintiffs' claims for insurance coverage under the Policies. See, e.g., Amended Complaint, ¶ 62.

The only duty that could exist to pay a claim covered by the Policies is a duty imposed by

contract, but HCC Global is not a party to the Policies and USSIC is the only defendant that

could have a duty arising under those contracts. Forrest Const. Co. LLC v. Laughlin, 337 S.W.

3d 211, 225 (Tenn. Ct. App. 2009) (person not a party to a contract cannot be in breach), appeal

denied, No. M2008-01566-SC-R11-CV, 2010 Tenn. LEXIS 602 (June 18, 2010) ; Gilliam v.

Goodyear Tire & Rubber Co., 137 S.W.2d 267, 268 (Tenn. 1940) ("the general rule of normal

agency is that where a contract is made by an authorized agent in the name and on the account of

a competent principal, the agent incurs no liability upon or with reference to the contract")

(internal quotation marks and citation omitted); Holt v. Am. Progressive Life Ins. Co., 731

S.W.2d 923, 925 (Tenn. App. 1987) ("a contract with a known agent for a disclosed principal is

the contract of the principal unless circumstances show that the agent intended to be bound or

assumed the obligations under the contract"). HCC Global cannot be liable in negligence

because the only source of duty is an insurance contract between USSIC and the plaintiffs and

therefore no duty imposed by law (as opposed to contract) is implicated here. See Permobil, Inc.

v. Am. Express Travel Related Servs. Co., Inc. 571 F. Supp. 2d 825, 842 (M.D. Tenn. 2008).

        16.    There is no basis for the negligence claim against HCC Insurance Holdings in

Count X, because no relationship or dealings are alleged between HCC Insurance Holdings and

any plaintiff that could give rise to any duty imposed by law. The only duty that could exist here

is a duty arising from contract and HCC Insurance Holdings is not alleged to be a party to the




                                    2
      Case 2:12-cv-00083 Document 1 Filed 08/13/12 Page 5 of 11 PageID #: 5
contract or to have any contractual duty to any plaintiff. See paragraph 15 and authorities cited

there.

          17.   Plaintiffs seek to hold HCC Insurance Holdings liable for negligence on the basis

that it is the corporate parent of HCC Global. See Amended Complaint,        TR 103-105. But they do
not allege any colorable claim against HCC Insurance Holdings for "alter ego" liability based on

negligence. To establish "alter ego" liability for negligence, plaintiffs would have to allege (a)

that HCC Insurance Holdings exercised complete dominion over HCC Global, such that HCC

Global had no separate mind, will or existence of its own with respect to the relevant matters; (b)

that this control was used to commit fraud or wrong, to perpetrate the violation of a statutory or

other positive legal duty, or as a dishonest and unjust act in contravention of third parties' rights;

and (c) that this control and breach of duty proximately caused the injury or unjust loss

complained of. Continental Bankers Life Ins. Co. v. Bank of Alamo, 578 S.W.2d 625, 632 (Tenn.

1979). See also Se. Texas Inns, Inc. v. Prime Hospitality Corp., 462 F.3d 666, 674 n.12 (6th Cir.

2006). The conclusory allegations in the Amended Complaint do not set forth a colorable claim

for alter ego liability under the applicable law.

         18.    Furthermore, HCC Global, the entity as to which plaintiffs claim HCC Insurance

Holdings is an alter ego, is not alleged to have had any relationship or dealings with any plaintiff

that could give rise to a duty imposed by law. See paragraph 15 and authorities cited there.

Because HCC Global cannot be held liable in negligence, HCC Insurance Holdings cannot be

liable in negligence as the supposed alter ego of HCC Global.

         19.    Count VI fails to set forth any colorable claim for breach of contract against HCC

Global. See paragraph 15 and authorities cited there. The conclusory allegations that HCC

Global acted as the "alter ego" of USSIC or "unjustly" exercised control over it, see id. at ¶ 76,




                                       2
         Case 2:12-cv-00083 Document 1 Filed 08/13/12 Page 6 of 11 PageID #: 6
are insufficient to establish a cause of action for alter ego liability based on an alleged breach of

contract. See paragraph 17 and authorities cited there.

        20.     Counts IV and V fail to set forth any colorable claim for tortious interference by

HCC Global with either of the insurance contracts. Under Tennessee law, the agent of a

contracting party cannot interfere tortiously in the contract of its principal if the agent acts

"within the general range of [its] authority" and its actions are "substantially motivated by an

intent to further the interest of the [principal]." Forrester v. Stockstill, 869 S.W.2d 328, 334-335

(Tenn. 1994). Thus "the claim can be alleged successfully only when the interfering party is a

third party not closely tied to the operations of the breaching corporation." Waste Conversion

Sys., Inc. v. Greenstone Indus., Inc., 33 S.W.3d 779, 782 (Tenn. 2000). Plaintiffs acknowledge

that HCC Global is one of several companies affiliated with USSIC and that HCC Global acted

as the disclosed agent of USSIC in handling claims under the Policies. See Amended Complaint,

TT 14, 17. They do not allege that HCC Global was not acting within its authority as USSIC's
agent; that it was not attempting to further the interests of the principal, US SIC; or that it was not

"closely tied" to US SIC's operations. To the contrary, they allege that HCC Global was directly

involved in these operations because it underwrote the Policies and handled claim for USSIC.

The Amended Complaint therefore alleges no facts suggesting any colorable claim for tortious

interference by the agent with the contract made by its principal.

       21.      Counts XI and XII fail to set forth any colorable claim for tortious interference by

HCC Insurance Holdings, the indirect corporate parent of USSIC. Under Tennessee law, "a

parent corporation is privileged to interfere in the contractual relations of a wholly-owned

subsidiary and ... is immune from liability for inducing to breach a contract with another party."

Waste Conversion Sys., 33 S.W.3d 779 at 784. This privilege can only be lost "by acting




                                                  2
      Case 2:12-cv-00083 Document 1 Filed 08/13/12 Page 7 of 11 PageID #: 7
contrary to such subsidiary's economic interests or by using wrongful means," such as "fraud,

misrepresentation, threats, violence, defamation, trespass, restraint of trade, intimidation,

molestation, or any other wrongful act recognized by statute or common law." Id. Plaintiffs

assert, in conclusory fashion and without alleging any supporting facts, that HCC Insurance

Holdings "acted maliciously to serve its own interests," see Amended Complaint, 11112, but they

do not allege that HCC Insurance Holdings acted in any manner contrary to the interests of

USSIC, or that HCC Insurance Holdings employed any wrongful means to induce a breach of the

insurance contract, as opposed to simply exercising the control or influence that a corporate

parent has over a subsidiary. The Amended Complaint therefore does not state a colorable claim

for tortious interference by the parent with a contract made by its subsidiary.

         22.    Counts VIII and XV fail to set forth any colorable claim for breach of contract

against HCC Insurance Holdings or Illium. Plaintiffs do not allege that either defendant was a

party to the Policies. They have not alleged any colorable claim that either is liable on an "alter

ego" theory for an alleged breach of contract by USSIC. Conclusory allegations that HCC

Insurance Holdings and Illium benefitted from a financial gain achieved by their subsidiary, see

Amended Complaint, iinf 89, 132, "unjustly" exercised control over the subsidiary, see id. at ¶11

90, 133, or acted as the "alter ego" of the contracting party, see id. at ¶¶ 90, 133, are insufficient

to establish a colorable claim against a corporate parent. See paragraph 17 and authorities cited

there.

         23.    Counts VII, IX, and XVI fail to set forth any colorable claim for bad faith against

HCC Global, HCC Insurance Holdings, or Illium. Under Tennessee law, the exclusive remedy

for bad faith refusal to pay amounts due under an insurance policy is statutory. See, e.g.,

Cracker Barrel Old Country Store, Inc. v. Cincinnati Ins. Co., 590 F. Supp. 2d 970, 972 (M.D.




                                                  2
         Case 2:12-cv-00083 Document 1 Filed 08/13/12 Page 8 of 11 PageID #: 8
Tenn. 2008). Recovery under the statute is available only against an insurer, for bad faith refusal

to pay under a policy issued by that insurer. TENN. CODE ANN. § 56-7-105. There is no basis for

any bad faith liability in this case, but if there was it could only be imposed upon US SIC,

because USSIC is the only defendant that issued an insurance contract under which the plaintiffs

allege a duty to pay. The allegation that HCC Global, HCC Insurance Holdings, and Illium

"acted like" an insurer with respect to the contracts at issue, see Amended Complaint, IN 80, 94,

137, does not state any colorable claim for bad faith liability.

        24.     Finally, because the Amended Complaint fails to set forth any colorable

substantive claim against HCC Global, HCC Insurance Holdings, or Illium, the purported claim

for declaratory relief in Count XVII fails to state any colorable claim against these Defendants.

        25.     In sum, this case presents a dispute between the plaintiffs and USSIC with respect

to whether USSIC breached a duty, arising from insurance contracts to which only US SIC is a

party, to pay amounts allegedly incurred in connection with underlying claims. The other claims

in the Amended Complaint are baseless attempts to defeat diversity by asserting a host of invalid

theories against non-diverse corporations that are not the plaintiffs' insurer, and that are not

obligated to plaintiffs under the insurance contracts or relevant law.


                  IV. THIS REMOVAL IS PROCEDURALLY CORRECT

       26.     Pursuant to 28 U.S.C. § 1391(b), venue is proper in the United States District

Court for the Middle District of Tennessee because plaintiffs' cause of action allegedly accrued

in substantial part in Putnam County, Tennessee. See Amended Complaint, ¶13.

       27.     In accordance with 28 U.S.C. § 1446(a), a copy of all process and pleadings

served upon Defendants in the state court action is attached as Exhibit B.




                                                  2
      Case 2:12-cv-00083 Document 1 Filed 08/13/12 Page 9 of 11 PageID #: 9
       28.     In accordance with 28 U.S.C. § 1446(b), this Notice of Removal has been filed

within 30 days after service of the Amended Complaint upon the Defendants.

       29.     In accordance with 28 U.S.C. § 1446(d), Defendants will promptly give written

notice of this Notice of Removal to plaintiffs' counsel and file a copy of the same with the Clerk

of the Chancery Court for Putnam County, Tennessee. Copies of the Notice of Filing Removal

and Notice to Plaintiffs of Filing Removal are attached as Exhibits D and E.


                                              Respectfully submitted,



                                             442-LAAA.         efrckt&h 6--
                                                naid A. Odubeko (Tenn. Bar No. 23809)
                                              BUTLER, SNOW, O'MARA, STEVENS &
                                              CANNADA, PLLC
                                              1200 One Nashville Place
                                              150 Fourth Avenue North
                                              Nashville, TN 37219-2433
                                              Telephone: (615) 503-9132
                                              Facsimile: (615) 503-9101

                                              Attorney for Defendants




                                     2 08/13/12 Page 10 of 11 PageID #: 10
     Case 2:12-cv-00083 Document 1 Filed
                                CERTIFICATE OF SERVICE
       I hereby certify on the date set forth below I caused a true and correct copy of the

foregoing Notice of Removal to be sent by U.S. Mail, postage prepaid, to counsel for plaintiffs,

addressed as follows:


       Thor Y. Urness
       Heather Howell Wright
       1600 Davidson Street, Suite 700
       P.O. Box 340025
       Nashville, TN 37203

       Jeffrey G. Jones
       Wimberly Lawson Wright Daves & Jones, PLLC
       1420 Neal Street, Suite 201
       Cookeville, TN 38501




                                                                O-cb.411,ee rs-
                                             d  naid A. Odubeko


Date: August 13, 2012




    Case 2:12-cv-00083 Document 1 Filed 08/13/12 Page 11 of 11 PageID #: 11
